“Case o-cU0-U0o049-asSt VOC o0-1lo Filed Olflofco Entered Ol/loj/2s5 204144

EXHIBIT M
Case 38-20-08049-ast Doc so-13 Filed Ol/ls/2s Entered Ol/1s/25 20:41:44

FW: various document - marked up _

From:
Arvind Walia <awalia@porteck.com>

ul Parmar <paul@constellationhealthgroup.com>
Date:
Thu, 15 Jun 2017 18:57:37 -0400
Attachments:
Undertaking Agreement - June 2017.docx (22.39 kB); Arvind Walia Employment Agreement 2017.docx (64.76 kB); MIPA -
Objecttech Holdings LLC.DOCX (155.4 kB); Niknim Management Inc Consulting Agreement.docx (47.97 kB); Notice to Exercise
Option - June 2017.doc (47.62 kB)

Please see the documents.
Objecttech - 1.52M at closing, 325k for 12% EBITDA anytime upto 6months and 325k for 15% EBTDA anytime upto 12 months.
Employment agreement - stock option participation language, 1 year non compete and state of new York instead of arbitration.

Thanks
Arvind

Arvind Walia

CEO, Orion Health Corporation
100 Jericho Quadrangle, Ste 235
Jericho, NY 11753

http://www. orionhealthcorp.com/
516-874-8101 (phone)
646-536-2515 (fax)
§16-770-6222 (Mobile)

From: Arvind Walia

Sent: Thursday, June 8, 2017 7:18 AM
To: 'Sam Zaharis'

Subject: various document - marked up

Sam

Please see my markups on all documents, in addition I may need to convert the agreement to an asset purchase agreement. I am meeting my
accountants today.

Let's work on this and resolve it asap.

Thanks
Arvind

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